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Case 3:05-mj-00598-NLS Document1 Filed 04/15/05 PagelD.2 Page 2 of 14

PILED

UNITED STATES DISTRICT COURT

 

SOUTHERN DISTRICT OF CALIFORNIA OSAPRIS AMI: 31
CLERK.ULS. OISTRIC 5
SUUTHERN DIST aIcT OA eae RT
p
UNITED STATES OF AMERICA ) Magistrate Case Noy. 05 598 saci
) ¥
V. ) COMPLAINT FOR VIOLATION
)
Alberto Garcia-Cardenas ) Title 18 , United States Code
) Section 751 (a)
)
)

 

The undersigned complainant, being duly sworn states:

That on or about January 4,2005, at San Diego, California, in the
Southern District of California, Alberto Garcia-Cardenas did
unlawfully and willfully escape from an institution and facility
in which he was confined by the Attorney General, to wit:
Correctional Alternatives, San Diego, California, a federally
contracted facility, said custody and confinement being by virtue
of a conviction for importation of marijuana, in violation of
Titie 18, United States Code, Section 751 (a). ‘

The complainant further states that this complaint is based on
the attached statement of facts, which is incorporated herein by
reference.

Matthew C. Peters

Deputy United States Marshal

ot
Sworn to before me, and subscribed in my presence, this 5

day of April, 2005.

United States Magistrate Judge

 

 
Case 3:05-mj-00598-NLS Document1 Filed 04/15/05 PagelD.3 Page 3 of 14

AFFIDAVIT

STATE OF CALIFORNIA  }
) ss.
COUNTY OF SAN DIEGO )

I, Matthew C Peters, being duly sworn, hereby depose and state that:
1. | am a Deputy United States Marshal and have been so employed for over three years.

2. This affidavit is made in support of a complaint against Alberto Garcia-Cardenas for
escape from the custody of the Attorney General, in violation of Title 18, United States code,
Section 75 1(a).

3. On January 5, 2005, the United States Marshals Office received a memorandum from
the United States Federal Bureau of prisons, to report the escape of Alberto Garcia-Cardenas
from Correctional Alternatives, San Diego, California, a federally contracted facility.

4, On April 14, 2005 I reviewed files from the United States Marshals Service and
Correctional Altematives. My review of the files revealed the following facts:

a, Alberto Garcia-Cardenas was serving a twelve month sentence imposed by United
States District Court Judge Gordon Thompson Jr, Southem District of California, on June 1,
2004, for importation of marijuana.

b. Records show that on January 4, 2005, Alberto Garcia-Cardenas was furlough
transferring from Taft Correctional Inst. To Correctional Alternatives in San Diego, CA. Garcia-
Cardenas did not report to the receiving halfway house. Local law enforcement offices and
hospitals were contacted by staff in search of inmate Garcia-Cardenas. As of this date and time,
he has not arrived at the community corrections center and is considered to be on escape status.

Dated: April 14, 2005 MR
CSP

Matthew C. Peters Deputy U.S. Marshal

Subscribed and sworn before me
on this /$ day of April, 2005

United States Magistrate Judge
 

TaCatga 3:05-mj-00598-NLS Document 1 Filed 04/15/05 PagelD.4 Page, trokgl 4 og Nur

FAX TRANSMITTAL GS CS &

GLOBAL EXPERTISE IN OUTSOURCING

Date: January 5, 2005 The GEO Group, Ine.

To: Jeff Tyler From: Pam Thompson TAFT CORRECTIONAL
INSTITUTION
1500 Cadet Rd.
Phone: Phone: 661-763-2510, Ext. 1129 P, 0, Box 7000***
Taft, CA 93268
Fax: 619-557-5959 Fax: 661-765-3013
cc email: . waw.thegeogroupinc.com

# pages including cover: 8

RE: Garcia-Cardenas, Alberto - ESCAPEE

 

Jeff:
To follow:

1. Thumb roti and picture on BP-385 card
2. BP 291 Application w/ inmates signature
3. Jandc

4, Finger print card

Thanks,

A OY Gh ony? he
Pam Thompson
Records Technician - Taft

SESE — SSS Ele —————eeeeeeee
. CONFIDENTIALITY NOTICE:
The accompunying facsimile is intended solely for th use of the addressee designuted below.
Document(s) transmitted herewith may cantale information that ts confidential and privileged. Delivery, distribution or dissemination of this communication,
other than to the intended addressee, is strictly prohibited, Ifyou have received this facsimite in crror, pleare notify us by tele ona.

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UNITED STATES DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF PRISONS

AUTHORIZED UNESCORTED COMMITMENTS AND TRANSFERS:

 

 

CHIEF EXECUTIVE OFFICER: THE PRISONER IDENTIFIED BELOW HAS BEEN AUTHORIZED
FOR UNESCORTED COMMITMENT TO YOUR FACILITY.

 

ean 2-30-09 os

 

 

 

 

 

 

 

SIGHATURE AND TITLE DOJ MNEMONIC
NAME OF PRISONER REGIS TER/COCKET NO. REPORT DATE REPORT TO (DOs MNEMONIC):
GARCIA-CARDENAS, ALBERTO #95526-098 01-04-2005 CPE SFV
FINGERPRINT-RIGHT THUMB-FULL AOLL FINGERPRINT. RIGHT THUME-FULL AOLL

 

bisenasntess AUTHORITY RECEIVING FACILITY

 

 

 

 

 

VSP LVN Previous editions not usable BP=985(51) - JULY, 1979

 
 

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U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS
Neen ener re a a

Inmate's Name . Register No. tastitution -

GARCTA-CARDENAS, ALBERTO 95526-0968 TAPT CORRECTIONAL INSTITUTTON

1500 CADET ROAD
TAFT, CALIFORNIA 93266
(661) 763-2510

  
 

 

|

    

 

 

 

 

 

 

APPLICATION
Purpose of Vigir Person and/or Place to be Visited
CCC PLACEMENT CORRECTIONAL ALTERNATIVES, INC. (CPH 9Fv)
Date and Time of Departure Address
O1-Od-2005 @ 0730 HRS, 931 35" AVENUE
SAN DIEGO, CALIFORNIA 32113
Date and Time of Return NO RETURN Telephone No. (619! 232-8600
Point of Contyec for Methed of Decainec/Pending Charges | Verified by (15M Staff)
Ema rgency Teansportation /
SAME AS ABOVE TC! VAN, KERN RLV fives  __ No
REGIONAL TRANSIT @US, .
GREYHOUND BUS, AND. AAD LA)
TAAL .

 

 

 

 

 

NOTE TO APPLICANT: You are reminded that should any unusual circumstances arise ducing the period of
your visit, you should notify the institution limediataiy at telephone:

UNDERSTANDING »

—————

 

 

 

 

 

 

 

 

 

 

T understand that if approved, { am authorized to be only in the area ef the destination shown ubove and
at ordinary stopovers or points on a direct route to of from that destination. I understand that my
furlough only extends the limits of my confinement and that I ramain in the custody of the Attorney
Genéral of the United States. If i fail to remain within the extended limits of this confinement, it
shall be deemed as escape from the custody of the Attorney General, punishable as provided in Section
7hl of Title 18, United States Code. JI understand thet I may be thoroughly searched upon my return te
the institution and that I will be hald responsible for any item of contraband or illicit materisl that
is found. J have read or hed read to ae, and { understand that the foregoing conditions govern my
fuclough, and will abide by them. I have read or had read to me, and I understand the CONDITIONS oF
FURLOVGH as set forth on the reverse of this form.

J. ATKINS AM athe . x Abettto HLGY C..,

 

 

 

 

 

CASE. MANAGER (tress Sian ras dargicm
, Title ~ Date Sigred
[ADMINISTRATIVE ACTION
Information Verified by . Title
Name Of USPO Notified Date of Notification

 

 

Dees USPO Have Any Objections to Furlaugh? (If so, axplain)

[ . APPROVAL

As CMC, I have cuviswed the Request for Activity
Clearance {404} and the SENTRY CIM Clearance and
Separatee Data and I recommend the inmate be

 

 

Approval for the above named Inmate to leave the
Institution on @ furlough es outlined is hareby
granted in accordance with P.L. 93-209 and tha BOP

Furlough Program Statement. Tha period of furlough | approved to participate in thiy furlough.
is from

01-04-2005 & 0730 HRS. to 61-04-2005 § 1645 HRS. ixres O No Signature of ocd] (Gas brits
Se bee .

Chief Executive Officer title f Sig fe certifies approval and CIMS Clearafet C/
R.D. ANDREWS, WARDEN Bin bte—~

RECORD
Date/Time Released:  _[J]20 Les 1 pul Date/Time Raturned:_NO RETURN

*rave! Scheadula: INMATE GARCIA-CARDENAS WILL DEPART TCI_ON 01-04-2008 8 APPROXIMATELY O7 0 ADURS V A TCT
VEHICLE TO TAPE CITY HALL TD ARRIVE AT 0740 HOURS.” AT 0757 HOURS GARCIA-CARGEHAS TRAVEL VIA KERN
REGIONAL TRANSIT TO BAKERSFIELD GREYHOUND BUS STATION TO ARRIVE AT 0925 HOURS. AT 1910 HOURS SARCTA
CARDENAS WILL TRAVEL VIA SAKERSFIELD GREYHOUND GUS TO SAN DIEGO, CALIFORNIA. HE WELt ARRIVE AT_SA aM
DLEtA) GREYHOUND BUS STATION AT 1610 HOURS. AT 1635 HOURS, GARCIA-CARDRNAS WILL TRAVEL VIA TROLLEY F'

SAN DIEGO GREYHOUND BUS STATION TO CORAECTIONAL ALTERNATIVES, [INC., 551 SouTHA 35 AVENUE, SAN DIEGO,
CALIFORNIA 92113, TO ARRIVE ON 01-04-2005 NO LATER THAN 1645 HOURS.

(This form may be ceplicated via WP)

 

 

    
 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Replaces .BP=291 of DEC 1997

 
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‘Inmate's Photo

Conditions of Furlough
f will nok violuce che laws of any jurisdiction (federal, atace, of: lecal). I waderstand that I am
Subject to pros@eution fur escape if t fall co return to nye inutieution at the designates time.
2. Iwill noe leave the area of my furlough without pecmission, with exception of traveling to tne
destination, and returning to the inst? cution. ‘ ? . 9 furlough

3. While on furlough stata, I understand that I cemain in the custedy of the U.S. Attozney General. 1
agree to conduct myself in a manner not to bring discredit to myself or to the Bureau of Prisons, I
understand that I am subject to arrest and/or institution disciplinary action for violaring any
condition{3s) of my furlough.

4. IT will sot purchase, possess, use, sofigume, or administer any narcotic drugs, marijuana, intoxicants in
any form, nor will I frequent any place where such acticles are ynlawfully sold, dispensed, used, er
given away. ‘

5. I will not use any medication that is not prescribed and given to me by the imscitution medica!
department for use or prescribed by a licensed physician while I am on furleugn. I will not have any
medical/dental/aurgical/psyehiatcic treatment withouc the written pecmission of staff, except where an
emergency Qf13es and necessitates such treatment. I will notify institution staff of any prescribed
medication of treatment ceceived in the community upon my return to the institution.

6. I will not have in my possession any firearm oc dangerous weapon.

7, Iwill not get merried, sign any legal papers, contracts, loan applicotions, or conduet any business
withouk the Written permission of staff.

8. IT will not associate with persons having a criminal record or with these persons who I know are engaged
in illegal occupations.

S. I agree to contact the institution (or United States Probation Officer) in the event of argeat, or any
ether sérioue difficulty or illness.

10. Twill not drive a motor vehicle withouc the written pezmission of stuff, I undeestand that I must have
a valid driver's license and sufficient insurance to meet any applicable financial responsibility lawe.

i. { wild mot return from furlough with any article I did not take out with me (fer example, clothing,
jewelry, or books!. I understand that I may be thoroughly searched and given a urinalysis and/or
Bresthalyzec and/or other comparable tests upon my retugn to the institution. I understand that I will
be held accountable fer the results of the search and tust(s).

12, It has been determined that consumption of poppy sceds may cause a pesitive drug tast which may result in
disciplinary action. Ags a condition of my pacticipation in community progeams, I will not consume any

poppy seeds or items containing poppy seeds.

13. Special Insteuctions:

I have read, oc had read to me, and I understand the above conditions concerning my furlough and agree to abide
by them.

Inmate's Signature: x Abode CAL i € ,_ Reg. No. 95526-0938 pace: 12-47-2004

y
Signatuce/Pcinted Name of Start Witness:_J. ATKINS/ AC aK ine _
Record Copy ~ Contrel Center, Count Control, Forward O\ISN, 15M Forward ta Unit tor central File; Copy -
Gontcol Center, Forward te Record Oftica; Copy ~ 15m Sugpense Copy (R&D): Copy - Inmate Use on Fuslough
Se SGRR 3:05-mj-00598-NLS Document 1 Filed 04/15/05 PagelD.8 Pager? eb 14, Nuc

oo “.

Qaozsa (Rev. 9/00) Judgment in a Criminal Case aH!
Sheet 1 sob

Oe JUN
UNITED STATES DisTRICT COURT... 00 AY & 11

hERW YS
SOUTHERN DISTRICT OF CALIFORNIA “47> cir IS? ore GouRT

tA

UNITED STATES OF AMERICA JUDGMENT IN A crn y
y, (For Offenses Commined Oa ember 119) PUTT

mr

 

 

ALBERTO GARCIA-CARDENAS Case Number: 04CR610-GT
MICHAEL MCCABE
Defendant's Atioracy
REGISTRATION NG. 95526098
THE DEFENDANT:

[x] pleaded guilty to counys) | OF THE INFORMATION

[was found guilty on count(3}
after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the follawing offense(s):

 

Count
Title & Section Nature of Offense Numbers)
21 USC 952, 960 IMPORTATION OF MARIJUANA |

The defendant is scnteuced a9 provided in pages 2 through of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

7 The defendant has been found not guilty on count(s)
CI counts) is (0) are[—Idicmisscd on the motioa of the United States.

 

[#] Ansecsment : $ 100.00 ‘forthwith

[3] Fine ordered waived. .

ITIS ORDERED thet the defendant shall notify the United States attomey far this district within 30 days of any change of nam, residence,
of mailing address unti) all fines, restitution, cos, and special assessments imposed by this judgment are fully paid. if ordered to pay restitution, the
defendant shall notify the court and United States akorn ey of any material change in the defendaot’s economic circumstances.

June 1, 2004

 

 

 

  
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403435 (Rev. 9/00} Jodgmem in Criminal Case
Shoes 2— Imprizomnent

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Jodgrent—Pags _ 2 oof
DEFENDANT: ALBERTO GARCIA-CARDENAS .

CASE NUMBER: 4CR610-GT

IMPRISONMENT

The defendant is hereby commited to the custody of the United States Bureau of Prisons to be imprisoned for « term of
TWELVE (12) MONTHS.

[x] The court makes the following recommendations to the Bureau of Prisons:
The Court recommends that the defendant be incarcerated in a facility that is located in Southern, Californis.

([ The defendant is remanded to the custody of the United States Marshal.

(] The defendant shall surrender to the United States Marshal for this district:

Clat Ch» Cpm on
as notified by the United States Marshal,

 

 

(The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
1 before
[J as notified by the United States Marshal.
CO ag notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
” [have executed this judgment as follows:
Defendant delivered on i 1z-0u to ___ 1ct
a —_~Tatt CA . with a certified copy of this judgment.
Kid Pres tn ln

 

UNITED STATES MARSHAL

pont ¥ as j STATES MARSHAL

 

 
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“ee

AO 265A (Rev. 9/00) Judgment in a Cromina! Case
Shoot 3 — Supervised Release

sss NER SSS
Judgment—Page _ 3 of

DEFENDANT: ALBERTO GARCIA-CARDENAS
CASE NUMBER: 04CR610-GT

 

 

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS, SS
MANDATORY CONDITIONS

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons,

The defendant shall not commit another federal, slate or toca) erime.
The defendant shall act illegally possess a controlled substance.
For affanses committed on or after Sepiember 13, 1994:

The defendant shall refrain from any unlawful use of'a controlled substance. The defendant sball submit to one drug test within
15 days of relense from imprisonment ard at least two periodic drug tests thereafter,

[7] The above drug testing condition is suspended, based an the court's determination that the defendant poses « low risk of
fanure substance abuse.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapen.

If this judgment imposes @ flat or a resticution obligation, it shall be a condition of supervised release that the defendant pay
any such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the
Schedule of Payments set forth in this judgment.

__ ‘The defendant shall comply with the standerd conditions that have been adopted by this court. The defendant sball also comply
with any special conditions imposed.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shail report to the probation officer and shall submit a truthful and complete written report within the first five days
o month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regulacly at a lawful occupation, unless excused by the probation officer for schooling, rralning, or
other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive usc of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall net aseociate with any persons 4 in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation afficer,
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a flaw enforcement
officer;
12) the defendant shall not enter into any agreement to act as an informer or & special agent of a law enforcement agency without
the permission of the cowt,
irected by the probation officer, the defendant shall aotify third parties of risks that may be occasioned by the defendant's
'3) 4 gy or personal history or characteristics and shall permit the probation officesto.o ake such noUfications and to
confirm the defendant's complignce with such notification requirement. :

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AGZSBR = (Rev, 300) Segment nw Cel Case
Shoat 3 3 — Coculsued 2 — Supervised Release

   
 

 

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DEFENDANT: ALBERTO GARCIA-CARDENAS
CASE NUMBER; 04CR610-GT

SPECIAL CONDITIONS OF SUPERVISION
[x] Not possess any firearm, explosive device or other dangerous weapon.

(*] Submit to a search of person, property, residence, abode or vehicle, at a reasonable time and in a reasonsble manner, by the probation officer,

OD The defendant shall violate no laws, federal, state and local, minor traffic excepted.

0 If deported, excluded, or allowed to voluntarity retum to Mexico, not reenter the United States illegally and report to the probation officer
within 24 hours of any reentry to the United States; supervision waived upon deportation, cxelusion, or voluntary departure.

CT Not transport, harbor, or assist undocumented aliens,

[7] Not associate with undocumented aliens or alicn smugglers.

(C) Not reenter the United States illegally.

(=) Nat enter the Republic of Mexico without written permission of the Court or probation officer.
[x] Report all vehicles owned or operated, ar in which you have an interest, to the probation officer.

[x] Participate in a program of drug or alcoho! abuse treatment inchuding urinalysis testing and counseling as directed by the probation officer.

(7) Not possess any narcotic drug or controlled substance without a lawful medical presetiption,

(J Not associace with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

(7) Participate in a program of mental health treatment as dirveted by the probation officer, take all medications as prescribed by a
psychiatrist/physician, and not discontinus any medication without permission. The Court authorizes the release of the presentence
report and available psychological evaluations to the mental health provider, as epproved by the probation officer. Defendant shall
cipm any releases necessary to permit doctor to talk to probation officer.

LI Take no medication containing @ controlled substance without valid medical prescription, and provide proof of prescription to the
probation officer, if directed.

QO Participate in a mental health treatment program s directed by che probation office.

D Provide complete disclosure of persanal and business financial records to the probation officer as requested.

Tj Bc prohibited from opening checking accounts or incwring new credit charges or opening additional lines of credit without epproval
of the probation officer.

(J Provide complete disclosure of personal and business financial records to the probation officer as requested.

[7] Seek and maintain full time employment and/or schooling or a combination of both.

O Resolve all outstanding warrants within days.

0 Complece baurs of community service in a program approved by the probation officer within

) Reside in 2 Community Corrections Center (CCC) as directed by the probation officer for a period of

C) Reside in a Community Corrections Center (CCC) as directed by the Bureau of Prisons for a period of
commencing upon release from imprisonment.

C1] Remain in your place of residence for a period of , except while working at verifiable employment,
attending religious services or underegoing medical treatment.

D Not engage in any form of telemarketing, a§ defined in 18 USC 2325, without the written permission of the probation officer.

[_] The defendant shall participate far a period of in a home detention program which includes electronic
monitoring and shall observe all rules of such program, as directed by the probarion officer. The shall pay the costs of
electronic monitoring to the contract vendor, not to excoed the sum of § for cach day 0} oss aesyan in the electronic
monitoring program, The defendant shell provide proof of payment as directed by the probary ha cory tae le rs cared om

    
 
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Pyro on
LAST NAME, FORST MAME QADDLE MAME, BLPPOC

O

SCaA

SOCAL SECURITY NO.

IGARCIA-CARDENAS. ALBERTO

 

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wor Paina wpicaiue me i
11AZ-MUNGARRO, ALBERTO; GARCIA, Al
{ARCIA, ALBERTO CONTRERAS;GARCL

1544 vl SLT

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iARCIA-CONTRERAS, ALBERTO; MUNGARRO, ALBERTO:DIAZ,

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U.S. Department of Justice

Faderal Bureau of Prisons

 

Community Corrections

MEMORANDUM TO

FROM:

SUBJECT:

230 N, 1°" Avenue, Sule 405
Phoenix, Arizona 85004

January 5, 2005

Inmate Systems Manager
TAFT

‘
——
eK 5. ipsutz ot

Community Corrections Manager
Failure To Report To ccc

Re: Garcia-Cardenas, Alberto
Reg NO: 95526-098

The above named inmate was due to arrive at the
Correctional Alternatives, Inc (CPH 9FV)} ccc in
San Diego, CA on 01-04-2005.

 

As of this date and time, he has not

arrived at the community corrections center and is
considered to be on escape and has been placed on
escape status per sentry.

If you have any questions, please do not hesitate
to call me or Susan Forcum, the Legal Instruments
Examiner assigned to this Community Corrections
Center.

cc: USM Service
WXRO Regional Director
BOP Comm Corr-Escapes

JAN @5 '@S @9:31

 

PAGE. @1

 

 
oF . a P.@2702
JAN 85 aB@Se BEOSenjFRoSSS MARSH A ocument 1 - See 14

BP-$393.056 NOTICE OF ESCAPED FEDERAL PRISONER coreM

Nov 94
U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS

a

 

 

 

 

 

 

 

 

 

Tnatitution Date
TAFT CORRECTIONAL INSTITUTION 01-05-2005
Name Number . Date of Birth Age
GARCIA-CAROENAS, 95526-0398 09-24-1967 37
ALBERTO :
Sex Race Reight Waight Eves Hair Place of
M WHITE s‘grr 200 GREEN BLACK Birth
cA
Citizenship Build , Kome Address
US MEDIUN MIGUEL ALEMAN BELICE 147
TECATE, MEXTCO

 

 

‘Scars, Marks, Tattoos- CROSS LEFT HAND Occupation
SELF EMPLOYED MECHANIC, CONSTRUCTION
TEMPORARY EMPLOYMENT AGENCY

 

Last Used Aliasas GCIAZ=-MUNGARRO, ALBERTO; , F.B.T. No.
GARCIA, ALBERTO: GARCIA, ALBERTO CONTRERA; 67020DA0
GARCZR-CARDEANS, ALBERTO; GARCIA-CONTRERAS, ALBERTO;
MUNGARRO, ALBERTO DIAZ

ao
e ia

675673

 

 

Sentence_12 MONTHS WITHER 3 YEARS SUPERVISION Original Arresting Agency:
Years/Mag./Daya Offense: 02-07-2004
IMPORTATION OF MARIJUANA . PORT OF ENTRY - TECATE

 

Details of Escape: Inmate was furlough
transferring from Taft Correcrional
Inst. to Corractional Alternatives in
San Diego, CA. Inmate did net report
to the receiving halfway houge.

Armed:0 Yea; O Wo; ¥ Unknown
Consider Dangercus: O Yas; X No

Violent Behavior: © Yes; X Ko

 

 

 

 

 

SUBJECT TO TBE CONDITIONS OF TITLE 28, PART 7, SECTION 7.1 - 7.5 OF THE QODE OF PEDERAL REGULATIONS, A STANDING
OFFER TO REWARD TS MADE FOR THE CAPTURE. OR ASSISTANCE IN, OR FURISHING INFORMATION LEADING TO TRE CAPTURE
OF AN ESCAPED FEDERAL FRISOWER. THIS REWARD SHALL OT BY IN EXCESS OF $200 UNLESS SPECIFICALLY GRANTED BY THE
OIRECTOR OF THE BUREAU OF PRISOWS.

IF APPREHENDED, OR IF YOU HAVE INFORNWATICN CONCEPWING THER PRISONER, WIRE OR TELEPHONE COLLECT THE

 

 

OFerer OF THE FEDERAL BVREAU OF INVESTIGATION (F.B.2.), OR COMPACT THE CHIEF EXECUTIVE OFFICER o 8
TELEPHONE NUMBER (661) 763-2519 Rid. ANBREWS AE
Area Code ‘Chief Executive Officer
RARDEN
Title
This form may ba replicated via WE} : Replaces SP-393159) O¢cT 62 and BP-S393(58) AUG D¢

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